               Case 22-11475-mdc                  Doc 4        Filed 06/06/22 Entered 06/06/22 23:04:26                                 Desc Main
                                                               Document      Page 1 of 2
 Fill in this information to identify your case:

 Debtor 1           Dennis Hollins
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: Eastern District
                                         __________       of Pennsylvania
                                                       District of __________

 Case number
  (If known)
                     ___________________________________________                                                                             Check if this is an
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
     
     ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      ____________________________
                                                                                                                                 11 U.S.C. § 522(b)(2)
      description:            vehicle
                             _________________________       2,500.00
                                                            $________________             $ ____________                        ____________________________
      Line from                                                                          
                                                                                         ✔ 100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________


      Brief                                                                                                                      ____________________________
      description:            clothing
                             _________________________       500.00
                                                            $________________            ✔ $ ____________
                                                                                            500.00                              11 U.S.C. § 522(b)(2)
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    ______                                                                  any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      ____________________________
      description:            furniture
                             _________________________       500.00
                                                            $________________            ✔ $ ____________
                                                                                            500.00                              11 U.S.C. § 522(b)(2)
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________


 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
     ✔
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



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Debtor 1       Dennis Hollins                        Document
              _______________________________________________________
                                                                      Page 2 of Case
                                                                                 2 number (if known)_____________________________________
              First Name        Middle Name         Last Name




 Part 2:     Additional Page

      Brief description of the property and line            Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property              portion you own
                                                            Copy the value from    Check only one box for each exemption
                                                            Schedule A/B

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00                        ____________________________
     Line from     ______
                                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                    any applicable statutory limit      ____________________________

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00                        ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00
                                                                                                                           ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00
                                                                                                                           ____________________________
     Line from     ______
                                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                    any applicable statutory limit      ____________________________

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00
                                                                                                                           ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00
                                                                                                                           ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00
                                                                                                                           ____________________________
     Line from     ______
                                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                    any applicable statutory limit      ____________________________

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00
                                                                                                                           ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                                                                                                                           ____________________________
     Schedule A/B: ______                                                             any applicable statutory limit


     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00
                                                                                                                           ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00
                                                                                                                           ____________________________
     Line from     ______
                                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                    any applicable statutory limit      ____________________________

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00
                                                                                                                           ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                                                                                                                           ____________________________
     Schedule A/B: ______                                                             any applicable statutory limit


     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________
                                                                                               0.00
                                                                                                                           ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:


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